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 6   Attorneys for Plaintiff Gila River Indian Community

 7
                               UNITED STATES DISTRICT COURT
 8                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                     SAN JOSE DIVISION
 9
10    NATIONAL URBAN LEAGUE, et al.,
                                                       CASE NO. 5:20-cv-05799-LHK
11
                                     Plaintiffs,
12                  v.                                 NOTICE OF SUBSTITUTION OF
                                                       COUNSEL
13    WILBUR L. ROSS, JR., et al.,
14                                   Defendants.
15

16
            Plaintiff Gila River Indian Community hereby notifies the Court and all other parties
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     pursuant to Civil L.R. 5-1(c)(2)(B), that Merrill C. Godfrey of Akin Gump Strauss Hauer & Feld
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     LLP, who is a member of this Court in good standing (CA Bar. No. 200437), hereby enters an
19
     appearance as counsel of record for the Gila River Indian Community, in substitution for Dario J.
20
     Frommer, also of Akin Gump Strauss Hauer & Feld LLP. Donald R. Pongrace will continue to
21
     represent the Gila River Indian Community.
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                                                                          CASE NO. 5:20-CV-05799-LHK
                                                                NOTICE OF SUBSTITUTION OF COUNSEL
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 1   Dated: November 17, 2020              By: /s/ Merrill C. Godfrey
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 7
                                           Attorneys for Plaintiff Gila River Indian
 8                                         Community
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